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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF VIRGINIA
                               ROANOKE DIVISION



ADVANCE STORES COMPANY,                )
IN CORPORATED,                         )
                                       )
                                       )
         Plaintiff,                    )
                                       )                    Case No. 7:19CV397
v.                                     )
                                       )
NORTH AMERICAN ROOFING SERVICES, INC. ,)
                                       )
                                       )
         Defendant.
                                       )

                                     DISMISSAL ORDER

       This day came Advance Stores Company, Incorporated ("Advance"), by counsel,

pursuant to Rule 41 (a) of the Federal Rules of Civil Procedure, and advised the court that

Advance and the Defendant, North American Roofing Services, Inc. ("North American

Roofing"), have settled and compromised all of their differences related to the claims asserted in

this action. North American Roofing has not been served in this matter and has not filed an

answer, and Advance hereby requests that this matter be dismissed w ith prejudice.

       Wherefore, it appearing unto the Court proper to do so, it is ORDERED, ADJUDGED,

and DECREED that Advance's Complaint is DISMISSED with prejudice.

       The Clerk shall remove this case from the Court' s active civil docket. The Clerk is

directed to send a certified copy of this Dismissal Order to counsel for Advance.


                                     ENTERED this     ~ay of ~~ , 2019


                                                     District Court Judge
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WE ASK FOR THIS :


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